  Case 1:18-cv-20095-CMA Document 1-2 Entered on FLSD Docket 01/09/2018 Page 1 of 13

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   FORM 1.997. CIVIL COVER SHEET

  The cjvil cover sheet and the information contained in it neither replace nor supplement the filing and service of pleadings
  or other documents as required by law. This form must be filed by the plaintiff or petitioner for the uso of the Clerk of
  Court for the purpose of reporting judicial workload data pursuant to section 25.075, Florida Statutes. (See instructions for
  completion,)


       I.            CASE SryLE
                                            IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT,
                                             tN AND FOR MIAMI-DADE COUNTY, FLORIDA



                                                                          Case No.:
                                                                          Judge
  Artnette Padil[a
   Plaintiff
                    vs.
  Nexr+S. $-epices Inc,
   Defendant


       II.           TYPE OF CASE

                                                                                  n    Non-homestead residentialforeclosure
                                                                                       $250,00 or more
               f! Condominium
                                                                                  n    Other real property actions $0 - $50,000
               S[ Contracts and indebtedness
               D Eminont domain                                                   f]   Other real propefty actions $50,001 '$249,999

               El Auto negligence
                                                                                  n.   Other real property actions $250,000 or more
               tr Negligence - other
                                                                                  tr   Professionalmalpractice
                    D   Business governance
                                                                                         El-    Malpractice - business
                    n   Buslness torts
                                                                                         U      Malpractice - medical
                    n     Environmentalffoxictort
                                                                                         n      Malpractice - other professional
                    tr    Third partY indemnification
                                                                                  n    Other
                    n     Construction defect
                                                                                         !      AntitrusVTradeRegulation
                    n     Mass tort
                                                                                         R      Business Transaction
                    n     Negligent securitY
                                                                                         tr     Circuit Civil - Not Applicable
                    n     Nursing home negligence
                                                                                         !      Constitutionalchallenge-statuteor
                    f}    Premises liabilitY - commercial                                       ordinance
                    n     Premises liability - residential                               n      Constitutionalchallonge-proposed
               D     Products liabllity                                                         amendment
               tr    Real Property/Mortgage foreclosure                                  tr     Corporate Trusts
                    fl    Commercial foreclosure $O - $50,000                            tr     Discrimination-employmentorother
                    .tr   Commercial foreclosure $50,001 - $249,999                      n      lnsurance claims
                    El    Commerclal foreclosure $250,000 or more                        !      lntellectualproperty
                    n     Homestead residential foreclosuro $0 - 50'000                  !      Libel/Slander
                    tr    Homestead residential foreclosure $50'001 -                    n      Shareholder derivative action
                          $249,999                                                       n      Securitieslitigation
                     n    Homestead residential foreclosure $250,000 or                  !      Trade secrets
                          more
                     n    Non-homestead residential foreclosure $0'
                                                                                         !      Trust litigation

                          $50,000
                     n    Non-homestead residential foreclosure
                          $50,001 - $249,999




                                                                     EXHIBIT
Case 1:18-cv-20095-CMA Document 1-2 Entered on FLSD Docket 01/09/2018 Page 2 of 13




                                                      COMPLEX BUSINESS COURT

        This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
        Administrative Order. Yes       tl
                                        No E


        ilt     REMEDIES SOUGHT (check all that apply):
                    A  Monetary;
                   El. Non-monetary declaratory or injunctive relief;
                    A       Punitive

        IV      NUMBER OF OAUSES oF ACTION:                 (   )
                (Specify)


                4

        V       IS THIS CASE A CLASS ACTION LAWSUIT?
                    D   Yes
                    ANo
        vt.     HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                    XNo
                    n   Yes     -   lf "yes" list all related cases by name, case number and court:




        vlt.    IS JURY TRIAL DEMANDED IN COMPLAINT?
                    @   Yes
                     lNo

I CERTIFY that the information I have provided in this cover sheet is accurate to the best of my knowledge and belief, and
that I have read and will comply with the requirements of Florida Rule of Judicial Administrallon 2.425.

Signature s/ Michelle   l4N[uskug            FL Bar No,: 1003077.
          Attorney or party                                                     (Bar number, if attorney)

        Michelle M   Muskus.           12/04120!7.
                (Type or print name)                                               Date
   Case 1:18-cv-20095-CMA Document 1-2 Entered on FLSD Docket 01/09/2018 Page 3 of 13

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                                                                  IN TI.TE CTRCUTT COURT OF THE
                                                                  l ITH JUDICIAL CIRCUIT IN AND FOR
                                                                  IVIIAMI DADE COT'NTY, FLORIDA

            ANNETTE PADII.LA,

                       Plaintiff,

            vs.                                                   Case No.


            NEXUS SERVICES INC.,
            a Foreign Profit Corporation,


                       Defendants


                                                       C9MPLA:INT

                     plaintiff, ANNETTE PADILLA ("Plaintiff'), by and througli the undersigned         counsel,


            hereby sue Defendants, NEXUS SERVICES INC., ("Defendant(s)"), and in supporl avers               as


            follows:

                                                GENERAL ALLDGATIONS

            1.       This is a1 action by the Plaintiff for damages exceeding $15,000 excluding attomeys'

                     fees or costs   for breach of agreement and unpaid wages under the Fair Labor   Standards


                       Act,29 U.S.C. $$ 201-219 ("FLSA")'

            Z.       This Court has jurisdiction over Plaintiffs FLSA claims pursuant to the 29 U,S.C. $ 216,

            3.       Plaintiff was at all times relevant to this action, and continues to be, a resident Miarni

                     Dade County Florida, within the jurisdiction of this I{onorable Court. Plaintiff is        a


                     covered employee for purposes of the FLSA'

            4.       Defendant, NEXUS SERVICES lNC., is a Profit Corporation having a place of business

                     in Miami Dade County, Florida, where Plaintiff worked for Defendaut, and at all tirnes

                     material hereto was and is engaged in iuterstate commerce.
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      5     Venue is proper in Miami Dade County because all of the actions that fonn the basis           of

            this Complaint occured within Miarni Dade County and payment was due in Miami

            Dade County.

      6     Declaratory, injunctive, legal and equitable relief sought pursuant to the laws set forth

            above together with attorneys' fees, costs and damages.

      7     All conditions   precedent     for the filing of this action before this Court have          been

            previously met, including the exhaustion of all pertinent administrative procedures and

            remedies.

                         FACTUA|L ALI.,TGATIONS COMMON TO ALL COUNTS

      B     Plaintiff is a non-exel"npt ernployee of Defendant and is subject to the payroll practices

            and procedures set forth hereinafter, and who worked in excess of forty (40) hours during

            one or more workweeks       within three (3) years of the filing of this cornplaint.

     9      Plaintiff began working for Det'endant on or about             April 10, 2017 until present as
            case manager. Her primary duties were to assist new and existing               clients in ensuring

            they are in compliance and serve as Libre by Nexus field ambassadors.

      10    At all times material hereto, Plaintiff           and Defendants wers engaged       in an implied
            agreement whereby Plaintiff would be employed by Defendants and that Plaintiff would

            be properly paid as provided     for by, and not in violation of, the laws of the United States

            and the State of Florida.

      11.   Throughout Plaintiff s employment, Plaintiff worked          in   excess   of forty (40) hours per

            week.   At all times rnaterial hereto, Defendants were on notice of               and/or had full

            knowledge of all hours worked by Plaintiff, including those hours worked by Plaintiff in

            excess of forty (a0) in a given work week.



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     12.    plaintiff was not paid at the proper oveftime rate for hours worked in excess of forty (40)

            per week. as proscribed by the laivs o1'the United States and the State o1'Florida.

     l3     Throughout Plaintiff s employmerrt, Plaintiff regularly and repeatedly complained and/or

            objected the Defendarrts' failure to properly pay overtime wages.



                                                          COUNT      I
                          Rreoch of Agreenrcnt ugainst NEXUS'S'El?WCES INC'

     14.    plaintiffre-adopts each and every factual allegation as stated in paragraphs I through             13


            of this cornplaint as   if   set out in   full herein'

     15.    Defendant breachecl       its agreement with Plaintiff by failing to pay the amount due to

            plaintiff for seruices provided       ancl performed under their agreement, and by not properly


            paying plaintiff for all hours worked in violation of the laws of the United States and the

            State of Florida.

     16.    plaintiff suffered damages        as a result of Defendants' breach   of said agreement.

            WI{EREFORE, Plaintiff seeks damages from Defendants for breach                       of    agreement,

                                                                                                        this
     exclusive of pre-judgrnent interest, costs, and attorneys' fees and atry and all other relief that

     Honorable Court deems just and proper.

                                              COU}..[T               II
                              Quantum Mendt agnin.st NEXaS SERWCES INC.

      17.    plaintiffre-adopts each and every factual allegation as stated in paragraplis t through           13



             of this complaint as if set out in fr'rll herein'

      lB.    plaintiff has conferred a benefit onto Delendants by performing and providing               services


             for Defendant.

      19.    Defenclants have knowledge           of tlre    services pelformed and provided and the benefit

             provided bY Plaintiff'
                                                                3
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      20.     Defendants accepted Plaintiff s services to Defendants.

      21,     Def'endants retain an inequitable benefit ti'om                    Plaintifl'by not properly paying Plaintil'f

              for all hours worked in violation of the laws of the United States and the State of Florida.

     22.      Plaintiff seeks damages under quantum nreruil that are the reasonable value of                                the

              services rendered to, provided to, and performed for Defendants.

              WFIEREFORE, Plaintiff seeks a judgment under quanhtm nteruit                              for   damages for the

     reasonable value of the seruices performed and provided for Defendants, interest and costs, and

     other damages deemed just by this Honorable Court.

                                                               COUNT       III
                            U rtj tt s t E nri   c It n   rcnt og ai n s t NEXU^S,9El? VI CE S I N C.

     23.      Plaintiffre-adopts each and every factual allegation as stated in paragraphs                       I   through l3

              of this complaint as    if   set out in       full herein.

     24.      Plaintiff has conferred a benefit upon Defendants for services performed and provided to

              Defendants.

     25.      Defendants have knowledge of the services performed and provided by Plaintiff.

     26.      Defendants voluntarily accepted the services performed and provided by Plaintiff,

     27   .   Defendants unjustly benefit frorn the services perfonned and provided by Plaintiff by not

              properly paying Plaintiff for all hours worked in violation of the laws of the United States

              and the State of Florida.

     28.      Plaintiff seeks darnages for the value of the work performed to Defendants.

              WHEREFORE, Plaintiff seeks a judgment for unjust enrichment against Defendants,

     interest and costs, and other damages deemed just by this Honorable Court.

                                                      COIJNT IV
                              V{ta1;e      & Hout Fetlerol Stotutory Violo.tiott aguirtst
                                                    NEXUS^SdIIVICE{T INC.


                                                                      4
Case 1:18-cv-20095-CMA Document 1-2 Entered on FLSD Docket 01/09/2018 Page 7 of 13




     Zg,     plaiptiffre-adopts each and every factual allegation as stated in paragraphs I through         13


             of this complaint as if set out in full herein.

     30.     This action is brourght by Plaintiff to recover from Defendants unpaid                  overtime


             cornpensation, as    well as atl additional amouut as liquidated           damages, costs, and

             reasonable attorney's fees under        the provisions of 29 U.S.C. $ 201 et            sec1., and


             specifically under the provisions of 29 U.S.C. $ 207. 29 U.S.C. $ 207 (a)(l) states, " No

         .   employer shall ernploy any of his ernployees... for a work week longer than 40 hours

             unless such employee receives compensation for his employment in excess of the hours

             above-specified at a rate not less than one and a half times the regular rate at which he is

             employed."

     31.     Jurisdiction is conferred on this Court by Title 29 U.S.C.   S   216(b).

     32.     At all times pertinent to this Comptaint, Defendant       operated as an organization which

             sells and/or markets its servioes and/or goods to customers from throughout the United

             States and also provides its services for goods sold and transported       ftom across state lines

             of other   states, and the Defendant obtains and solicits funds from non-Florida sources,

             accepts funds from nop-Florida sources, uses telephonic transmissiotts going over state

             lines to clo its business, transmits funds outside the State of Florida, and otherwise

             regularty engages in interstate commerce, particularly with respect to its employees.

     33.     Upon information ancl belief, the annual gross revenue of the Defendant was at all times

             material hereto in excess of $500,000 per annum, and, by virtue of working in interstate

             commerce, otherwise satisfies the FLSA's coverage requirements.

      34. By reason of the foregoing, the Defendant is and was, during all times hereafter
             mentionecl, an enterprise eugaged        in   commerce   or in the production of       goods for


                                                           5
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            commerce as defirred    in $$ 3 (r) and 3(s) of the FLSA, 29 U.S,C.          S 203(r) and 203(s).

            Def'endant's business activities involve those to which the Fair Labor Standards Act

            applies. The Plaintiff s work for the Defendant likewise affects interstate comnlerce.

     35.    Plaintiff seeks to recover for unpaid wages accumulated from the date of hire and/or fi'om

            3 (three) years from the date of the filing of this complaint.

     36.    At all tirnes material hereto, the Det'endant failed to comply with Title 29 U.S.C.      $$ 201-

            219 and 29 C.F.R. $ 516.2 and $ 516.4 et secl.itt that Plaintiff perforrned services and

            worked in excess of the maximum hours provided by the FLSA but no provision was

            made by the Defendant to properly pay Plaintiff at the rate of time and one half for all

            hours worked in excess of forly hours (40) per workweek as provided in the FLSA.

     37.    Defendant knew and/or showed reckless disregard            of the provisions of the FLSA
            concerning the payment of overtirne wages as required by the Fair Labor Standards Act

            and remain owing Plaintiff these unpaid wages since the commencement of Plaintiffs

            employment with Defendant as set forth above, As such, Plaintiff is entitled to recover

            double damages.

     38.    Defendant never posted any notice, as required by the Fair Labor Standards Act and

            Federal Law, to inform employees of their federal rights to overtime and minimum wage

            payments.

     WHEREFORD, Plaintiffs respectfully prays for the following relief against Defendant:

            A. Adjudge and decree that Deftndant       has violated the FLSA and has done so        willfully,

                 intentionally and with reckless disregard for Plaintiff   s   rights;

            B.   Award Plaintiff actual damages in the amount shown to be due for unpaid overtime

                 compensation for lrours worked in excess of forty (40) weekly, with interest; and



                                                       6
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             C.   Award Plaintiff an equal amount in double damages/liquidated damages; and

             D. Award Plaintiff    the costs of this action, together with a reasonable attorneys' fees;

                  and

             E.   Grant Plaintiff suclr additional relief as the Court deems just and proper under the

                  circumstances.

                                               JTJRY DETVIAND

     Plaintiff demands trial by jury of all issues triable as of right by jury.




     Dated: Decernber 4, 2017

                                                             Respectfully submitted,

                                                               /s/ Michelle Muskus, Esq.
                                                               Petcr M. Iloogerwoerd, Esq.
                                                              Florida Bar No.: 188239
                                                              pmh@rgpattornevs.com
                                                              Nathaly Lewiso Esq.
                                                              FloddaBarNo,        118315
                                                              nl@rgpattomeys.com
                                                              Michelle Muskus, Esq.
                                                              Florida Bar No.: L003077
                                                               m   m@.rs&ltornel/s. con]



                                                             R]TMER & GEORGES-PIERRE, PLLC
                                                             44 West Flagler Street, Suite 2200
                                                             Miami, FL 33130
                                                             Telephone: (305) 4 16-5000
                                                             Facsimile: (305) 41 6-5005




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  Case 1:18-cv-20095-CMA Document 1-2 Entered on FLSD Docket 01/09/2018 Page 10 of 13

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                                                           IN TI{E CIRCU]T COURT OF THE
                                                           l ITH JUDICIAL CIRCUIT IN AND FOR
                                                           MIAMI DADE COUNTY, FLORIDA

        ANNETTE PADILLA,

                 Plaintiff

        vs.                                                Case No. 2017 -027772-CA-01

        NEXUS SERVICES INC,,
        a Profit Corporation,



                 Defendants,



                                       SUMMONS IN A CIVIL CASE

        TO: NEXUS SERVICES lNC. through its Registered Agent:

                                     INCORP SERVICES,INC.
                                     1 78BB 67'IH COURTH NORTH

                                     LOXAI{ATCHEE, FL, 33 47 O

        YOU ARB IIEREBY SUMMONED and required to serveupon PLAINTIFF'S ATTORNEY

                                     PETER M, HOOGERWOERD, ESQ,
                                     REMER & GEORGES-PIERRE, PLLC
                                     44 WEST FLAGLER STREET
                                     SUITE 22OO
                                     MIAMI, FL 33130

        an answer to the cornplaint which is herewith served upon yott, within 20 davs after service of
        this summons upon you, exclusive of the day of service. If you failto do so, judgment by default
        will be taken against you for the relief demanded in the cornplaint. You must also file your
        answer with the Clerk of this Court within a reasonable period of time after service.




         CLERK                                             DATE


         (BY) DEPUTY CLERK
 Case 1:18-cv-20095-CMA Document 1-2 Entered on FLSD Docket 01/09/2018 Page 11 of 13

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                                                            IN TI-IE CIRCUIT COURT OF THE
                                                            11TH JUDICIAL CIRCUIT IN AND FOR
                                                            MIAMI DADE COUNTY, FLORIDA

        ANNETTE PADILLA,

                Plaintiff,

        vs.                                                 Case No. 2017 -027772-CA-0 I

        NEXUS SERVICES INC.,
        a Profit Corpomtion,



                Defendants.


                                          SUMMONS IN A CIVIL CASrc

        TO: NEXUS SERVICES lNC. through its Registered Agent:

                                         INCORP SERVICES,INC.
                                         17888 67ru 6ggprH NORTH
                                         LOXAHATCHEE, FL,33470

        YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY

                                         PETER M. HOOGERWOERD, ESQ.
                                         REMER & GEORGES.PIERRE, PLLC
                                         44 WEST FLAGLER STREET
                                         SUITE 22OO
                                         MIAMI, FL 33130

        an answer to the complaint which is herewith served upon you, within 20 davs after service of
        this summons upon you, exclusive of the day of service. lf you fail to do so, judgment by default
        will be taken against you for the relief demanded in the complaint. You must also file your
        answer with the Clerk of this Court within a reasonable period of time after seruice.

                             12t712017

        CLERK                                               DATE


        (BY) DEPUTY
            Case 1:18-cv-20095-CMA Document 1-2 Entered on FLSD Docket 01/09/2018 Page 12 of 13

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                      Stata of Florida                                             Courrty of Mlarnl.Dade                                                                                        Clrcuit Court

                      case Number:     2A17   42777 2-CA"0 I

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                     ANNETTE PAOILLA
                     YS,

                      [tefeindanil
                      NSXUS SERVICES INO.

                     For:
                     Peter Michael Hocgeru,roerd
                     REMER 8. CEORG.H$^PIERRF' FI"[O"
                     44 West Ftaglsr Stroef
                      $uite 2200
                      Mibml,. FL 33130

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            ANNJ]TTE PADII.T.,A,

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            v.9.                                                         Case No. 2Al          ?   $27.Tf2.(:A-0 t

            NE.YtJ$ SIIRVICF.S tNC.,                                                                             '' .
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                                               INCOI1II SERVII]ES, INE.
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